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IN THE UNITED STATES DISTRICT COURT fn p…
FOR THE WESTERN DISTRICT OF TENNESSEE “J”WH
WESTERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 04-20017 DV
RANDE LAZAR, M.D., d/b/a
OTOLARYNGOLOGY CONSULTANTS
OF MEMPHIS

Defendant.

 

REPORT AND RECOMMENDATION ON DEFENDANT'S MOTION TO SUPPRESS ALL
EVIDENCE AND TO DISMISS ALL CHARGES RESULTING FROM SEARCHES UNDER
ILLEGAL WARRANTS, DATED OCTOBER 9, 2002

 

Before the court is the August 27, 2004 motion of the
defendant, Rande Lazar, M.D., d/b/a Otolaryngology Consultants of
Memphis (“Lazar”), to suppress all evidence seized from.his offices
pursuant to search warrants dated October 9, 2002, and to dismiss
all counts in the indictment resulting directly and derivatively
from the searches. The motion was referred to the United States
Magistrate Judge for a report and recommendation.

On May 26, 2005, a hearing was held in open court before the
undersigned magistrate judge. At the hearing, the government
called four witnesses: Mike Geasley, a criminal investigator with
DCIS for the state of Tennessee, who participated in the execution

of the search warrants; Jeffrey Knutson, also a criminal

  

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investigator with DCIS and who also participated in the execution
of the search warrants at issue; Diane Lee Lott, a former agent
with the Medicaid Fraud Control Unit of the Tennessee Bureau of
Investigation and a participant in the execution of the search
warrants at issue, and Assistant U.S. Attorney Kevin Whitmore, who
was present when the search warrants were issued. The defense
called one witness. Betty Fortney, a former administrative
assistant/office manager for Dr. Lazar. For the following reasons,
it is recommended that the motion be granted.

PROPOSED FIN'DINGS OF FACT

Lazar was originally indicted by the grand jury on January 20,
2004. A superseding indictment was filed on November 19, 2005,
charging Lazar with devising and executing a scheme to defraud and
obtain money from health care benefit programs. The indictment
further charges that Lazar falsified or caused to be falsified
medical reports to justify billing and billed for procedures that
were not performed by him, were not necessary, or were not
performed at all.

The government's investigation of Lazar began in July, 2000,
after Lazar's ex-office manager, Judiath Lake, filed a qui tam
lawsuit under the Federal False Claims Act claiming that Lazar was
engaged in scheme to defraud health care benefit programs. On

July 29, 2001, almost a year after the qui tam case was filed, the

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government executed a search of Lazar's offices. The authority for
that search was alleged to be a federal statute, 42 U.S.C. § 1320a-
7, and two federal regulations, 42 C.F.R. §§ 431.107 and 1007.11.
The government also served Lazar with a Department of Justice
(“DOJ") subpoena which sought twelve specific categories of
business records, but did not seek patient files.1 Over the next
several nmnths, Lazar allegedly produced over 20,000 pages of
documents pursuant to the DOJ subpoenas.

In October of 2002, the lead case agent from the Tennessee
Bureau of Investigation, Donald Lee, Jr., prepared applications and
affidavits for search warrants on Lazar's three offices. The
search warrants for Lazar’s offices located at 791 Estate Place and
777 Washington Avenue, which are at issue in this motion, were
numbered 02-SW»110 and 02-SW-lll respectively.2 The only
difference between the two search warrants were the addresses of
the locations to be searched. On October 9, 2002, after
preparation of the search warrant applications, supporting

affidavits, and the search warrants themselves, Agent Lee,

 

1 The legality of the July 29, 2001 search and the
authority to use DOJ subpoenas are challenged in another
suppression motion filed by Lazar on August 27, 2004. A hearing
on that motion has been set for July 21, 2005.

2 The search warrant for the third office is not at issue
because it was never executed.

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accompanied by AUSA Kevin Whitmore, presented the search warrant
applications, supporting affidavits, and the search warrants to
then Magistrate Judge J. Daniel Breen for approval and issuance of
the search warrants.

The applications for issuance of the search warrants were
signed by Agent Lee. The application for the search warrant for

791 Estate Place stated as follows:

I Donald Lee being duly sworn depose and say: I am
a(n) s/A Tennessee Bureau of Investiqation and have
reason to believe that _ on the person of or _§ on the
property or premises known as (name, description and/or
location) Otolarvngology Consultants of Memphis (OCM),
791 Estate Place, Memphis TN 38120 in the Western
District of Tennessee there is now concealed a certain
person or property. namely (describe the person or
property to be seized) See Attachment A and Attachment B
which is (state one or more bases for search and seizure
set forth under Rule 4l(b) of the Federal Rules of
Criminal Procedure) filing False Fictitious Claim, Mail
Fraud, Wire Fraud, False Claims Relatinq to Health Care
Matters, and Health Care Fraud concerning a violation of
Title l§ United States Code, Sections(s) 287l 1341, 1343l
1035c & 1347. The facts to support a finding of Probable
Cause are as follows: See Affidavit.

Ex. 12, Application and Affidavit for Search Warrant, Case No. 02-
SW-llO, Western District of Tennessee. An identical application
was filed for the search of 777 Washington Ave, Memphis, TN, in
Case No. 02-SW- lll, the only difference being the address of the
premises.

Agent Lee supported each application with identical twelve-

page affidavits setting forth his qualifications, the

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identification of the locations to be searched, the applicable
criminal statutes, the details of the investigation, a general
statement regarding the items to be seized, and his belief that the
locations to be searched.would contain evidence, instrumentalities,
and/or fruits of the crimes referenced in his affidavit. Lee's
affidavits, as did the applications, referenced an Attachment A and
an Attachment B.

Attachment A to each application and affidavit, was a detailed
description of the premises to be searched. Attachment B to each
application and affidavit set forth eight categories of items to be
seized. These categories encompass each and every business and
medical record, as well as billing information, in the offices to
be searched without any limitation. Indeed, each of the eight
paragraphs in Attachment B describing the items to be seized begins
with “any and all.”

The first paragraph in Attachment B which deals with patient
records states that items to be seized includes

Any and all documents by whatever means stored . . .

including but not limited to patient charts, files,

medical records, . . . for the following patients:"
Id. However, there were no patient names listed after the colon in
paragraph one of Attachment B. Nor were any patient names, chart
numbers, procedures, ages of patients, insurance companies or any

other identifying criteria of patients mentioned in any of the

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affidavits, applications, and attachments A. There were no
criminal statutes mentioned in Attachments A or B either.

The searcklwarrants themselves likewise referenced.Attachments
A and B. The search warrant stated:

Affidavit(s) having been.made before me by S[A Donald Lee

who has reason to believe that__on the person of or ”L on

the premises known as (name, description and/or location)

Otolar n olo Consultants of Mem his OCM 791 Estate

Placel Memphis TN 38120 there is now concealed certain

person or property, namely (describe the person or

property) See Attachment A and, Attachment B. I am

satisfied that the affidavit(s) and any record testimony

establish probable cause to believe that the person or

property so described is now concealed on the person or

premises above-described and establish grounds for the

issuance of this warrant.
Id. Attachments A and B to the warrant were identical to
Attachments A and B to the Applications and Affidavits. No patient
names were listed after the colon in paragraph one of Attachment B.
Similarly, patient names, chart numbers, procedures, ages of
patients, insurance companies or any other identifying criteria of
patients were absent from the search warrants themselves, and both
attachments A and B to the search warrants. Nor were any of the
criminal statutes mentioned in the search warrants or Attachments
A or B to the search warrants.

AUSA Whitmore testified that he was present when the

affidavits and applications, attachments A and B, and the warrants

were presented to Judge Breen. Whitmore told the court that he

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created a list of names of specific patients for whom records were
to be seized and gave the list to Agent Lee, who in turn presented
it to the magistrate judge. Whitmore claimed that he and Judge
Breen had a discussion concerning the patient list before the
warrants were signed. The substance of this conversation is
unknown; however, there was some indication by Whitmore that he
discussed with Judge Breen the idea of not attaching the patient
list to the affidavits and applications and the warrants out of
concern that the names of minor children would be made public. In
addition, Whitmore testified that at the time that Agent Lee was
under oath, the patient list was a part of the search warrant
package presented to the magistrate. Judge Breen signed both
warrants, and the searches were executed simultaneously at
approximately 10:00 a.m. on October 10, 2002.

During the course of AUSA Whitmore's testimony, it was
discovered that there were several patient lists in existence. See
Exs. Sa, 6b, 6c, 10, and 15. None of the lists entered into
evidence at the hearing were the actual list presented to the
magistrate and none of them were identical. In fact, AUSA Whitmore
testified that he did not have a copy of the original patient list
that was presented to the magistrate judge. Whitmore referred to
the patient list attached to the government's response to the

present motion as a “working copy” and stated that the attached

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copy was not the one presented to the magistrate judge. Nor are
there any patient lists in the clerk's files for 02»SW~110 or 02-
SW-lll.

The two locations searched were Lazar's medical offices at 777
Washington Avenue and 791 Estate Place. Agent Mike Geasley, of
DCIS, was involved in the execution of the search warrant at 777
Washington Avenue. Geasley testified that he, along with three
other agents, entered the office around 10:00 a.m. on the morning
of October 10, 2002l and served the warrant upon the office
manager, Betty Fortney. The agents chose 10:00 a.m. because they
believed it to be the most convenient and least complicated time to
conduct the search. The agents were dressed in business attire and
their guns were concealed. Before the search began and after the
search ended, Agent Jeffrey Knutson videotaped the office, trying
not to film any of the patients in the waiting room. Both Geasley
and Knutson stated that the office staff was very cooperative
during the search. Betty Fortney also stated that the office was
not crowded during the search and that the officers acted in a
polite and professional manner.

In order to retrieve the patient files, Geasley provided Betty
Fortney with a patient list. This list purportedly included the
names of 125 patients. A staff member matched the names with the

chart numbers, as the charts were not in alphabetical order, and

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the agents pulled the charts. Sixty-eight (68) patient files were
taken from 777 Washington Avenue. An inventory list was left with
Fortney, along with a copy of the search warrant and the
attachments A and B. Geasley did not leave a copy of the Patient
list or the affidavit with Fortney.

Former agent for the Medicare Fraud Control Unit, Diane Lee
Lott, testified in regard to the search of Lazar's office located
at 791 Estate Place. According to Lott, she documented the entry
and exit of the search, collected evidence, sketched the facility
and acted as a “taint” agent. Lott took patient files during the
search as well as three files labeled attorney’s files, documents
concerning financial information, including e-mails, and three
backup tapes that concerned billing. When asked what authority she
had for taking these files, Lott answered that she was under the
impression that pursuant to the search warrant, she could take
whatever items that may constitute evidence of a crime. Lott
stated that the three attorney’s files were sealed and delivered to
the United States Attorney's Office. On the Wednesday following
the search, Lott returned to 791 Estate Place to make a sketch of
the office and make a mirror-image copy of Lazar's computer hard
drive. As a result of the search at Estate Place, sixty-nine (69)
patient files were taken, along with sixty (60) CT scans, three (3)

files that were clearly marked attorney’s files, a file containing

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six (6) years of medicare/medicaid claims, and three backup tapes
full of billing information.

In this motion, Lazar requests that the court exclude: (1) all
patient files, business records, and computer data seized under the
warrants; and (2) all evidence, both documentary and testimonial,
that the government subsequently discovered or obtained which is
derivative of the items obtained during the searches, including all
expert testimony.

PROPOSED CONCLUSIONS OF LAW
I . PARTICULARITY

The first issue before the court is whether the search
warrants pass the “particularity test” of the Fourth Amendment.
The Fourth Amendment states unambiguously that “no Warrants shall
issue, but upon probable cause, supported by Oath or affirmation,
and particularly describing the place to be searched, and the
person or things to be seized." U.S. CONST. amend. IV. Warrants
which fail to identify with particularity the items to be seized
are considered “general” or “exploratory" warrants as they do not
circumscribe the discretion of the executing officer, nor do they
“assure[] the individual whose property is searched or seized of
the lawful authority of the executing officer, his need to searchl
and the limits of his power to search. Groh v. Ramirez, 540 U.S.

551 (2004)(quoting United States v. Chadwick, 433 U.S. 1, 9

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(19'77)) .

Lazar contends that the warrants presented to the magistrate
judge were defective “general warrants” and the evidence seized
from the offices should be suppressed. Lazar argues that both
warrants authorized unlimited searches of all patient records, all
business records, and all computer data. because they' did. not
describe with particularity the records to be seized.

Lazar contends that by not identifying a single patient by
name on the warrant or incorporating by reference a list of
patients, the agents exceeded the clear limits of the search
warrant. While it is unclear why there was no reference made to a
list of patients or no patient list was incorporated, the
undeniable fact remains that the warrants did not specify, nor did
they authorize, the seizure of any particular patient record.

The government insists that AUSA Kevin Whitmore and Agent Lee
presented a patient list to the magistrate judge for his
consideration prior to the signing of the warrants. However, AUSA
Whitmore testified that he did not presently have the original
patient list that the magistrate judge received nor is the original
in the clerk's file. The government thus asks the court to rely on
a patient list, even though its whereabouts are unknown, that was
not referenced in the warrants. attached to the warrants or

incorporated into the warrants to save the warrants from the

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particularity requirement.

The fact that the magistrate judge may have viewed a patient
list before signing the warrants does not save the warrants from
its facial invalidity. In a recent Supreme Court decision, the
Court held that a warrant was lacking in particularity because it
provided no description of the type of evidence sought. Groh v.
Ramirez, 540 U.S. 551 (2004). The facts in this case are similar
to the facts in Groh. In that case, Groh, an ATF agent, applied
for a warrant to search Ramirez’s ranch for a large stock of
rifles, grenades, and rocket launchers. The agent supported his
application for a warrant with a detailed affidavit that set forth
the basis for his belief that the items were on the ranch. A
magistrate judge signed the warrant after reviewing the application
and affidavit. The warrant was not specific in regard to the items
to be seized. The description of the items to be seized only
indicated where the items could be found and did not incorporate by
reference the itemized list contained in the application. Despite
the fact that the application adequately described the things to be
seized, the Court held that the warrant was facially invalid
because the warrant did not incorporate other documents by
reference and neither the affidavit nor the application accompanied
the warrant.

In the present case, neither of the search warrants or the

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attachments referenced on the face of the search warrants contain
a list of patient names, nor do the affidavits or the applications.
In the space set aside for a description of the items to be seized.
the warrants merely refer to Attachments A and B. Attachment A
describes the premises to be searched, not the items to be seized.
Attachment B describes the items to be seized. The first category
in Attachment B refers to patient records for patients whose names
are not included in the warrant or in any list that is attached or
referred to in any part of the search warrants or the applications
or affidavits. Unless the particular patient list created by AUSA
Whitmore was set forth in the warrant, or at least incorporated by
reference, there can be no assurance that the magistrate judge
actually found probable cause to search for, and to seize, the
patient records listed on the patient list. In effect, the warrant
purports to authorize a search of all patient records at Lazar’s
offices, despite the fact that the government believed that only
specific records were evidence of criminal activity as demonstrated
by AUSA Whitmore’s creation of a patient list.

It can hardly be argued that where the Supreme Court is
unwilling to uphold a warrant where the items to be seized are
described in an unincorporated application, that this court should
allow the government to rely on a patient list which was not

incorporated in either the applications or search.warrants in order

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to save the search warrants from the particularity requirement of
the Fourth Amendment. Here, the warrants were obviously deficient
and plainly invalid so as to render the searches warrantless and
thus unconstitutional.

Lazar further contends in addition that every category in
Attachment B violated the Fourth Amendment's particularity
requirement because they were left unlimited in scope and duration.
It is undisputed that Attachment B contains no limitation as to any
relevant dates of items to be seized. At the time the search
warrants were issued, the government had been investigating Lazar
for almost two years. Rather than specify exactly which documents
it was seeking, the government chose to use descriptions of items
to be seized that referenced no specific patients, no specific
transactions, and most importantly, no time frame. The Sixth
Circuit has held that “[f]ailure to limit broad descriptive terms
by relevant dates, when such dates are available . . ., will render
a warrant overbroad.” United States v. Ford,r 184 F.3d 566 (6th
Cir. 1999). While a time frame was mentioned in the affidavits,
the affidavits were not incorporated into the warrants and there
was testimony that the affidavits were not presented to the office

manager at the time of the search.

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Accordingly, the court concludes that the categories of items
listed lacked the requisite particularity. The words used in
Attachment B to describe the items to be seized left room for the
agents to seize whatever items they wished without limitation.
Thus, it is submitted that the warrants at issue failed to conform
to the particularity requirement of the Fourth. Amendment and
therefore the searches conducted on October 9, 2002, of Lazar's
office premises were unconstitutional.

II. GOO'D FAITI-I EXCEPTION

If the warrants are in fact defective, it is submitted by the
government that this case falls under the “good faith” exception of
United States v. Leon, 468 U.S. 897, 926 (1986). Under Leon, when
an officer, acting with objective good faith, has obtained a search
warrant from a detached and neutral magistrate and has acted within
its scope, the results of the search are not excludible even if the
affidavit is later found to be insufficient to establish probable
cause,unless (1) the issuing magistrate was misled by information
in an affidavit that the affiant knew was false or would have known
was false except for his reckless disregard of the truth; (2) the
issuing magistrate failed to act in a neutral and detached fashion

and. merely served as a rubber stamp for the police; (3) the

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affidavit was so lacking in indicia of probable cause as to render
official belief in its existence entirely unreasonable, or where
the warrant application was supported by nothing more than a bare
bones affidavit; or (4) the warrant was facially deficient in that
it failed to particularize the place to be searched or the things

to be seized. United States vs. Leon, 468 U. S. 897, 926 (1986).

Lazar contends that pursuant to United States v. Leon, 468
U.S. 897 (1984) and Groh v. Ramirez, 540 U.S. 551 (2004), the good
faith exception does not apply in this case because the warrants
were facially defective “general warrants.” Because the
government’s agents prepared an invalid warrant by not listing
patient names in I 1 of Attachment B, the government cannot argue
that it agents reasonably relied on the magistrate judge’s finding
that the warrant contained an adequate description of the things to
be seized and was therefore valid. Id. The exception cannot be
used where a deficiency is not brought to the magistrate judge's
attention. Id. at 1292 n.4. In Groh, the Court stated that
“petitioner did not alert the Magistrate to the defect in the
warrant that petitioner had drafted, and we therefore cannot know
whether the Magistrate was aware of the scope of the search he was

authorizing. Nor would it have been reasonable for petitioner to

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rely on a warrant that was so patently defective, even if the

Magistrate was aware of the deficiency.” Id.

In the present case, neither Agent Lee nor any other agent
involved in the search did anything to point out the deficiency,
despite the fact that it was obvious. Instead, the agents seized
numerous patient~related records where not a single one was
particularly authorized. Accordingly, the government's argument
that the good-faith exception saves the invalid searches is not

well-taken.

III. PROBABLE CAUSE CONNECTING THE LOCATIONS TO BE SEARCHED

 

Lazar contends that the affidavits of Agent Lee that were
presented with the search warrants contain unsupported conclusory
statements attempting to connect the places to be searched with the
items to be seized. Lazar maintains that there is no substantiated
information present in the affidavit that connects the records to
be seized in Attachment B to the two locations that were searched
and that the agents' mere belief that Lazar controlled the two
locations is not enough to satisfy the requirement of probable
cause, and therefore the evidence obtained from these searches
should.be suppressed. Alternatively, Lazar argues that information

given to the affiant by Judiath Luke or Dr. Neil Beckford was stale

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as these individuals had not worked for Lazar for over a year prior
to the searches at issue. Moreover, Lazar claims that just
because the government had entered his offices and seized records
before under different authority, does not mean that he still
maintained his records at those locations. Instead, Lazar argues
that with the knowledge that the government could seize records any
time it wanted, he would have had an incentive to move the records

to a different location.

The government did not attempt to refute the arguments made by
Lazar on this point in its response brief, nor did it mention the
lack of probable cause to connect the locations to the items to be
seized during oral argument. Rather, the government attempts to
persuade the court that probable cause existed to tie the locations
to the items to be seized by describing the qualifications of Agent
Lee, the knowledge of Judiath Lake, Lazar's ex-office manager,
concerning Lazar's alleged billing practices, and Dr. Neil
Beckford's knowledge of Lazar's alleged billing practices. This
information does nothing, however, to link the records to be seized

to the locations to be searched.

According to the leading case, Illinois v. Gates, 462 U.S. 213

(1983), a magistrate judge's task in finding probable cause is

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“simply to make a practical, common-sense decision whether, given
all the circumstances set forth in the affidavit before him,
including the ‘veracity’ and ‘basis of knowledge' of persons
supplying hearsay information, there is a fair probability that
contraband or evidence of a crime will be found in a particular
place.” Id. at 238. The duty of the reviewing court is to
determine whether the magistrate judge had a substantial basis for
concluding that probable cause existed. Id. at 238-39. A mere
conclusory statement linking the place to be searched with the

items to be seized will not suffice. Id. at 239.

In the present case, the affidavit of Agent Lee states that
Dr. Lazar owns and operates the two locations to be searched.
Attachment A provides pictures of the two locations and the
pictures indicate that Lazar has offices in these locations. There
are however no dates indicating when these pictures were taken,
The only other mention of one of the locations in the affidavit
comes from Judiath Luke's statement to Agent Lee that “the fellows
worked almost exclusively in OCM’s office at 777 Washington Street,
Memphis, Tennessee.” There is no language, express or implied, in
the affidavit that connects the items to be seized. with the

locations that were searched.

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Accordingly, Agent Lee's statements that “there is probable
cause to believe that the locations described herein as well as
Attachment A, contain evidence, instrumentalities and/or fruits of
crimes,” is so conclusory and unsupported to the point that the
magistrate judge could not have determined that probable cause
existed to connect the locations to be searched with the items to
be seized. Consequently, it is recommended that all items seized

from either location be suppressed.

IV. INEVITABLE DISCOVERY

 

The government insists that the inevitable discovery rule
applies in this case. Under the inevitable discovery rule,
illegally seized evidence may be admitted despite the exclusionary
rule when the government can demonstrate either the existence of an
independent, untainted investigation that inevitably would have
uncovered the same evidence or other compelling facts establishing
that the disputed evidence inevitably would have been discovered.
Nix v. Williams, 467 U.S. 431 (1984). “The government can satisfy
its burden by showing that routine procedures that [it] would have
used regardless of the illegal search would have resulted in the
discovery of the disputed evidence." U.S. v. Ford, 184 F.3d 566

(6th Cir. 1999).

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Prior to the issuance of the October 9, 2000 search warrants,
the government had served Lazar with pre-indictment DOJ subpoenas
that sought information in connection with the government's
investigation. Lazar had. begun to comply‘ with the government
subpoenas prior to the October 10 searches by producing over 20,000
pages of documents. The government maintains that it could have
obtained the medical records of patients or other documentation
where needed by use of DOJ subpoenas or grand jury subpoenas.
According to the government, subpoenas are routine procedures for
obtaining such information. The government claims, however, that
it received reliable information that if it served DOJ subpoenas
seeking patient records that Lazar would attempt to alter the
records to conceal his fraudulent billing practices. In response
to this information, the government secured search warrants to

obtain patient records instead of using subpoenas.

Lazar contends that the government does not have routine
procedures for obtaining evidence in the context of a criminal
healthcare-fraud investigation. As such, Lazar maintains that the
government is barred from arguing that it would have inevitably

discovered the patient records via subpoenas.

It is also submitted by Lazar that the court should reject the

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prosecution’s invitation to make a grand jury or DOJ subpoena an
“insurance policy” to protect against an illegal search. The Ninth
Circuit case of Center Art Galleries-Hawaii v. United States, 875
F.2d 747 (9th Cir. 1989) and the Second Circuit case of United
States v. Roberts, 852 F.2d 671 (2nd Cir. 1988) are directly on
point. In both cases, the government argued that it would have
inevitably discovered information that was seized pursuant to an
invalid search warrant via a subpoena that had been issued either
before or after the issuance of the warrant. Quoting the Second

Circuit's decision in Roberts, the Ninth Circuit held that:

The mere fact that the government serves a subpoena,
however, does not mean that it will obtain the documents
it requests. A subpoena can be invalid for a variety of
reasons, as when it is unduly burdensome, . . ., when it
violates the right against self-incrimination, . . ., or
when it calls for privileged documents. Moreover, we can
deplore but not ignore the possibility that the recipient
of a subpoena may falsely claim.to have lost or destroyed
the documents called for, or may even deliberately
conceal or destroy them after the service of the
subpoena. Thus, the government cannot show that its
subpoena would have inevitably resulted in the discovery
of the suppressed documents.

Center Art Galleries-Hawaii v. United States, 875 F.2d 747, 754

(9th Cir. 1989)(citations omitted).

In this case, the court finds the case law of the Second and

Ninth Circuits to be persuasive. Thus, it is recommended that the

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court reject the government's inevitable discovery argument.
particularly in light of the fact that the government acknowledged
that it had information suggesting that Lazar would alter patient

records if faced with a subpoena.
V. GOVERNMENT AGENT’S CONDUCT DURING THE SEARCHES

In Lazar's written motion, he alleges that agents' execution
of the search warrants was outrageous and conscience shocking.
Despite making these assertions in the written pleadings, Lazar
decided not to pursue the allegations at the hearing on May 26,
2005. A copy of the video-taped search was provided to defense
counsel by the government and a copy was entered into evidence as

Court Exhibit 11. The issue now appears to be moot.
CONCLUSION

In sum, the search warrants fail to conform to the Fourth
Amendment’s requirements of particularity. That being the case,
the search warrants are facially invalid and did not provide the
authority for a constitutional search of either of Lazar's offices.
It is thus recommended that the evidence seized during these

searches be suppressed.

Furthermore, the affidavit presented to the magistrate judge,
along with the attachments, do not provide a sufficient basis for

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the determination that the items to be seized were present at the
locations to be searched. Thus, the searches were not based on a
finding of probable cause. Consequently, the items seized from

the searches must be suppressed.

The court also rejects the government's assertion that either
the good-faith exception or the inevitable discovery doctrine

applies in this case.

Accordingly, it is recommended that the items seized in the
government's searches conducted at 777 Washington Avenue and 791

Estate Place on October 10, 2002, be suppressed.

Respectfully submitted this 13th day of June, 2005.

moss z ZM~

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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ESSEE

 

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Cam ToWerS .1 ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Peter M. Coughlan

OFFICE OF THE ATTORNEY GENERAL
425 Fifth Ave.7 N.

Nashville, TN 37243--049

Marc N. Garber

THE GARBER LAW FIRM, P.C.
4994 LoWer Roswell Rd.7 NE

Ste. 14

1\/121rietta7 GA 30068

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. Box 98

Ashland7 MS 38603

Honorable Bernice Donald
US DISTRICT COURT

